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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK




RUBIK’S BRAND LIMITED,

                    Plaintiff,
                                           Civil Action No. 1:17-cv-6559 (PGG)
            -against-
                                           REDACTED
FLAMBEAU, INC.,

                    Defendant.


______________________________________________________________________________

 DEFENDANT FLAMBEAU, INC.’S MEMORANDUM OF LAW IN SUPPORT OF ITS
                     MOTION FOR SUMMARY JUDGMENT
______________________________________________________________________________




                                          Anthony A. Tomaselli (pro hac vice)
                                          anthony.tomaselli@quarles.com
                                          Kristin Graham Noel (pro hac vice)
                                          kristin.noel@quarles.com
                                          Matthew J. Duchemin (pro hac vice)
                                          matthew.duchemin@quarles.com
                                          Anita Marie Boor (pro hac vice)
                                          anita.boor@quarles.com
                                          QUARLES & BRADY, LLP
                                          33 East Main Street, Suite 900
                                          Madison, WI 53703
                                          Tel.: 608-251-5000

                                          Attorneys for Defendant Flambeau, Inc.
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          Defendant Flambeau, Inc. (“Flambeau”) respectfully moves for summary judgment on

Plaintiff Rubik’s Brand Limited’s (“RBL”) complaint.

    I.    INTRODUCTION

          This is a trademark dispute. RBL asserts rights in the design of a three-dimensional

puzzle cube (“the 3x3 Cube Design”), with the following elements:

             A black cube;
             Having nine square-shaped color patches on each of its six faces;
             With the color patches on each face being the same in the start/solved position;
             Consisting of the colors red, white, blue, green, yellow, and orange.
(St. ⁋⁋ 3. 124, 195).1
          Flambeau, through its division Duncan Toys Company, sells a white puzzle cube called

the Duncan Quick Cube. (St. ⁋⁋ 8-9, 185-186). The Quick Cube’s color patches have different

shades, shapes, and orientation than the 3x3 Cube Design’s. (St. ⁋⁋ 186-189). Notwithstanding,

RBL filed a complaint asserting the Quick Cube infringes the 3x3 Cube Design. (Dkt. 1).

          RBL’s claims are premised on a functional design that cannot serve as a trademark. The

3x3 Cube Design is essential to the use or purpose of the cube—to scramble and solve the cube.

(See infra § IV.A). RBL does not dispute that the cube’s color patches enable it to be scrambled

and solved. (St. ⁋⁋ 204-211). And both parties’ experts agree that primary and secondary

colors—like those of the 3x3 Cube Design—enable faster and easier solving. (St. ⁋⁋ 230-238).

          Functionality is confirmed by the numerous utility patents that cover the 3x3 Cube

Design, including the cube’s 3x3 grid of smaller segments on each face, and the cube’s use of

color as a means of scrambling and solving the puzzle. (St. ⁋⁋ 20-79, 241-249). It is axiomatic

that a patented design cannot serve as a trademark. This issue is dispositive of the entire case.

          RBL’s predecessors were aware of these puzzle cube patents—they held rights to several

and were sued on another. (St. ⁋⁋ 345-369). But, the predecessors were not content with just

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    “St.” refers to Flambeau’s Rule 56.1 Statement of Material Facts, filed concurrently herewith.
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patent rights and decided to improperly double dip by applying to register the 3x3 Cube Design

as a trademark. (St. ⁋⁋ 93-127). In the process, RBL’s predecessors withheld the patents from the

USPTO, even after the examining attorney requested them. (St. ⁋⁋ 369-376). These actions

constitute fraud, mandating cancellation of RBL’s registration. (See infra § IV.D).

       On top of these fundamental flaws, RBL has failed to muster sufficient evidence to show

that confusion or dilution is likely. (See infra § IV.B-C). The undisputed facts show:

          After over four years of coexistence and nearly three years of litigation, RBL has
           failed to present a single instance of actual confusion, and RBL has not put forth any
           survey evidence on confusion or dilution (St. ⁋⁋ 288-292);
          The Duncan Quick Cube is different from the 3x3 Cube Design because the Duncan
           Quick Cube has a white base, while the 3x3 Cube Design requires a black base, and
           the Duncan Quick Cube’s segments have different shades, shapes, and orientation
           than the Design’s (St. ⁋⁋ 293-307);
          The Duncan Quick Cube is always branded with the well-known DUNCAN mark,
           and RBL’s cube is always branded with the RUBIK’S mark (St. ⁋⁋ 308-309);
          Flambeau adopted the Duncan Quick Cube in good faith by seeking and receiving
           advice on how to avoid both patent and trademark infringement (St. ⁋⁋ 310-313);
          The 3x3 Cube Design is so commonly used in the marketplace that it no longer
           indicates a cube authorized by RBL (if it ever did) (St. ⁋⁋ 314-318);
          Flambeau and RBL are not in the same markets—RBL does not make or sell its own
           cubes, but merely licenses the RUBIK’S brand to manufacturers (St. ⁋⁋ 323-327); and
          Flambeau’s customers are large retail stores with sophisticated purchasers who
           exercise due diligence with their purchases (St. ⁋⁋ 328-332).

       Regarding dilution, RBL has no evidence that the 3x3 Cube Design is famous or

distinctive to RBL (as opposed to the RUBIK’S name, which is not asserted). (St. ⁋⁋ 333-337).

To the contrary—the marketplace is saturated with dozens of different brands of cubes bearing

the 3x3 Cube Design. (St. ⁋⁋ 314-318). The Design is generic, not famous.

       Finally, RBL cannot recover Flambeau’s profits on its dilution claim because Flambeau’s

actions were not willful. (See infra § IV.E). Moreover, the Court should decline to award profits

entirely because they are not supported by the equities. (Id.).



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    II.    FACTUAL BACKGROUND

           This case concerns puzzle cubes, which are as their name implies—puzzles because they

can be scrambled and solved, and cubes because they have six equal, square faces. (St. ⁋⁋ 11-12).

The faces are subdivided into smaller segments (e.g., smaller cubes) that bear external indicia

(e.g., colors). (St. ⁋⁋ 13-14).

           Puzzle cubes have been known and used for decades. Patents from the 1960s and early

1970s disclose and claim “manipulable toys” that have “outer surfaces” in a “variety of colors”

(St. ⁋⁋ 20-23) and specifically puzzle cubes that have “colored surfaces [that] when properly

arranged [have] one distinct color on each of the six faces” (St. ⁋⁋ 24-25).

           Today, there are dozens of different versions and brands of puzzle cubes. (St. ⁋⁋ 314-

318). A common version is the 3x3—where each face of the puzzle cube is composed of three

rows of three smaller cubes bearing a distinct color, and the cube is “solved” when all smaller

cubes of the same color make up a single face. (St. ⁋⁋ 15-19).

              A. Mr. Rubik Began Patenting His 3x3 Puzzle Cube in the Mid-1970s.

           In January 1975, Ernö Rubik, the individual RBL credits with inventing the 3x3 puzzle

cube,2 applied to patent his puzzle cube, shown right, with the

Hungarian government (St. ⁋⁋ 32-39). Hungarian Patent No. 170062

(“the ‘062 Patent”) issued in October 1976. (St. ⁋ 34). Per the ‘062

Patent, “the nine solid pieces forming any face surface of the cube are

arranged so that they may rotate together and at the same time.” (St. ⁋

37). Mr. Rubik applied to patent the same 3x3 puzzle cube with the Belgian government, and

was issued Belgian Patent No. 887,875 (“the ‘875 Patent”) in July 1981 (St. ⁋⁋ 40-45).


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  RBL acknowledges that the 3x3 puzzle cube was also independently invented by Terutoshi
Ishige, which resulted in Japanese Patent No. S53-120946 (“the Ishige Patent”). (St. ⁋⁋ 28-31).
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       Mr. Rubik continued to pursue patents for his cubes, including ones that could be

scrambled and solved by color. In October 1980, Mr. Rubik applied for another patent with the

Hungarian government, and was issued Hungarian Patent No. 180387 (“the ‘387 Patent”). (St. ⁋⁋

46-50). The ‘387 Patent references the Ishige Patent as disclosing a 3x3 puzzle cube “of which

the 9 small cube faces located on each of the faces of the large cube can be arranged by rotation

so that each large cube face contains the same color of small cube faces.” (St. ⁋ 48). The ‘387

Patent claims an embodiment of a puzzle cube with colors on its external surfaces. (St. ⁋ 50).

       In August 1981, Mr. Rubik applied for patents with the U.S. Patent and Trademark Office

(“USPTO”). U.S. Patent Nos. 4,378,116 (“the ‘116 Patent”) and 4,378,117 (“the ‘117 Patent”)

issued in March 1983. (St. ⁋⁋ 51-60). The ‘116 Patent discloses puzzle cubes scrambled and

solved by color: “The surfaces of the small cubes forming each surface of the large cube are

colored … [and] can be assembled into the predetermined logical order of sequence by

simultaneously rotating the nine toy elements forming the surfaces of the ‘large cube.’” (St. ⁋

54). The ‘117 Patent makes similar disclosures. (St. ⁋⁋ 57-59).

           B. Ideal Began Selling the Cube in 1980, then Was Sued on the Nichols Patent.

       In late 1979, Ideal Toy Company (“Ideal”) was granted exclusive rights to make and sell

Mr. Rubik’s puzzle cubes in the U.S. under the “Rubik’s” name. (St. ⁋⁋ 80-82). Ideal debuted the

3x3 “Rubik’s Cube” at the New York City Toy Fair in February 1980. (St. ⁋⁋ 83).

       In early 1981, Moleculon Research Corporation (“Moleculon”), contacted Ideal about

U.S. Patent No. 3,655,201 (“the Nichols Patent”). (St. ⁋ 84). The Nichols Patent, issued in April

1972, disclosed a puzzle cube where, if “its component parts are properly arranged[, it]

present[s] one distinct coloration on each of its six faces.” (St. ⁋⁋ 24-26). The parties discussed

licensing, but the negotiations broke down and Moleculon filed suit in May 1982. (St. ⁋⁋ 85-87).

The litigation lasted over seven years with two appeals to the Federal Circuit. (St. ⁋⁋ 87-92).
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           C. Ideal Applied to Register the 3x3 Cube Design as a Trademark in 1982.

       In April 1982, while negotiating with Moleculon (St. ⁋⁋ 84-87),

Ideal applied to register a trademark, shown right, for “a black cube

having nine color patches on each of its six faces with the color patches

on each face being the same and consisting of the colors red, white,

blue, green, yellow, and orange” (St. ⁋ 93). As applied for, the white face is adjacent to the

yellow face. (St. ⁋⁋ 93-97).

       The examiner refused registration because the design “appears to be the configuration of

applicant's goods [and] primarily functional in nature.” (St. ⁋⁋ 98-99). Ideal argued in response

that “the design features of [the] product ... are not essential to effective competition…. Cube

puzzles … can be formed of any color plastic…. They need not be formed of black.” (St. ⁋⁋ 103-

104). “The color patches need not be square” or “the precise colors used by applicant.” (St. ⁋⁋

105-106). Ideal cited three court decisions that reportedly found the design not functional. (St. ⁋

107). Ideal then assigned its IP rights, including the pending application, to CBS, Inc. (“CBS”).

(St. ⁋⁋ 108-109).

       The examiner refused registration a second time in an office action dated January 17,

1983, again based on functionality. (St. ⁋⁋ 110-111). The examiner noted that the cited decisions

were from preliminary injunctions and ordered that “Applicant must set forth the registration

number of any patents which cover the goods in the application.” (St. ⁋⁋ 112-114).

       CBS (or Ideal on its behalf) filed a response in May 1983. Despite knowing of numerous

patents covering three-dimensional puzzles, CBS did not identify any. (St. ⁋⁋ 115-116). Instead,

CBS cited two additional court decisions that it (wrongly) asserted were “determinative as to the

issue of non-functionality.” (St. ⁋ 117). The first decision mentioned the ‘062 Patent, but did not

mention any subsequent patents that disclose color as an external indicia. (St. ⁋ 118). And the
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decision mistakenly found that Ideal “do[es] not have any patent rights in the United States to the

puzzle cube.” (St. ⁋ 119). The second decision did not address patents at all. (St. ⁋ 120).

       A new examiner was then assigned to the file and approved publication the same day,

resulting in U.S. Registration No. 1,265,094 (“the ‘094 Registration”). (St. ⁋⁋ 121-222).

           D. After a Decline, Puzzle Cubes Gained Popularity Due to Speed Cubing.

       The Rubik’s Cube experienced an initial boom, followed by a bust. By 1982, sales were

trending downward, and by 1984, popularity had “dropped off dramatically” (St. ⁋⁋ 128-129).

       More recently, however, puzzle cubes are growing in popularity due to speed cubing (St.

⁋ 131), a competitive activity where “speed cubers” strive to be the fastest to solve the cube (St.

⁋ 130). The World Cubing Association (“WCA”), the largest organization for speed cubing,

reports that the number of first-time competitors in 2017 was about five times more than the

number of competitors in 2012. (St. ⁋⁋ 132-133).

       Competitors at WCA events may use any brand of puzzle cube (St. ⁋ 135)—and there are

dozens to choose from (St. ⁋⁋ 314-318). But the puzzle cubes must meet WCA requirements in

order to be competition-eligible. (St. ⁋⁋ 134-135). Specifically for 3x3 puzzle cube events, the

WCA requires that the cube “use a color scheme with one unique color per face” and the “colors

of the colored parts must be solid, with one uniform color per face,” each color “distinct from the

other colors.” (St. ⁋⁋ 141-142). The cubes “must be clean” with no “markings” that “distinguish

any piece from a similar piece,” except for a single logo on one center piece. (St. ⁋⁋ 142-143).

           E. RBL Began Licensing the RUBIK’S Brand to Toy Manufacturers in 2013.

       The ‘094 Registration was eventually assigned to RBL in 2013. (St. ⁋⁋ 126-127). RBL is

not a toy manufacturer; it does not make or sell puzzle cubes. (St. ⁋⁋ 4-5). Rather, RBL licenses

the RUBIK’S brand and the 3x3 Cube Design to toy manufacturers, like Hasbro. (St. ⁋⁋ 6, 149,

325). One of RBL’s licensed products is the 3x3 Rubik’s Cube. (St. ⁋ 150).

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       RBL requires its licensees to follow a style guide. (St. ⁋ 151). Per the guidelines, the 3x3

Rubik’s Cube, shown right, must have a black base and uniform, square

patches in six colors specified by Pantone color number. (St. ⁋⁋ 152-

154). The 3x3 Rubik’s Cube is branded with RUBIK’S in its center

white segment, and its packaging is branded with RUBIK’S in several

locations. (St. ⁋⁋ 156-160).

           F. Flambeau Launched Its DUNCAN-Branded Quick Cube in 2016.

       Flambeau is a manufacturer and seller of plastic goods. (St. ⁋ 7). Flambeau’s toy division,

Duncan Toys Company, is a well-known and respected brand in the toy industry. (St. ⁋⁋ 9, 176).

The DUNCAN name has been used for toys, games, and playthings since 1929, and itself is a

registered mark. (St. ⁋⁋ 177-178). The DUNCAN Yo-Yo has been sold for decades and has

been inducted into the National Toy Hall of Fame. (St. ⁋ 179).

       In 2015, Flambeau began looking into developing a DUNCAN-

branded 3x3 puzzle cube for speed cubing. (St. ⁋ 180). Duncan

reviewed catalogues from various manufactures, ordered samples, and

selected a cube that had features favorable for speed cubing. (St. ⁋ 181).

The selected cube, shown right, was branded the “Duncan Quick Cube.” (St. ⁋ 182).

       The Duncan Quick Cube has a white base and patches in six fluorescent-toned colors,

with the yellow face opposite the white face. (St. ⁋⁋ 186-188). The inner corners of the smaller

cube segments are cut away for “corner cutting,” a technique for faster solving. (St. ⁋ 189). The

Duncan Quick Cube is always branded with DUNCAN, and so is its packaging. (St. ⁋⁋ 192-193).

       Prior to launching the Duncan Quick Cube in the U.S., Flambeau sought and received

freedom to operate opinions from its outside legal counsel. (St. ⁋⁋ 183-184, 310). REDACTED



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         After receiving these opinions, Flambeau began selling the Duncan Quick Cube in March

2016. (St. ⁋ 185). Flambeau’s customers are retail stores, like Target and Staples. (St. ⁋⁋ 327).

            G. RBL Sued Flambeau in August 2017 with No Evidence of Confusion.

         RBL filed suit in August 2017 for (1) trademark infringement, (2) false designation of

origin, and (3) trademark dilution, all under the Lanham Act, (4) common law trademark

infringement, and (5) unfair business practice under N.Y. Gen. Bus. Law § 360-1. (Dkt. 1).

Flambeau asserted affirmative defenses of invalidity and non-infringement, and counterclaimed

to cancel RBL’s registration, based on both functionality and fraud. (Dkt. 24).

III.     LEGAL STANDARDS

         Summary judgment is warranted where the moving party shows that “there is no genuine

dispute as to any material fact” and that it is “entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). “A defendant is entitled to summary judgment where the plaintiff has failed to

come forth with evidence sufficient to permit a reasonable juror to return a verdict in its favor on

an essential element of a claim on which the plaintiff bears the burden of proof.” Selevan v. New

York Thruway Auth., 711 F.3d 253, 256 (2d Cir. 2013) (internal citations omitted). A “party may

not rely on mere speculation or conjecture as to the true nature of the facts to overcome a motion

for summary judgment…. [M]ere conclusory allegations or denials … cannot by themselves
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create a genuine issue of material fact where none would otherwise exist.” Hicks v. Baines, 593

F.3d 159, 166 (2d Cir. 2010). “When no rational jury could find in favor of the nonmoving party

because the evidence to support its case is so slight, there is no genuine issue of material fact and

a grant of summary judgment is proper.” Gallo v. Prudential Residential Servs. Ltd. P’ship, 22

F.3d 1219, 1224 (2d Cir. 1994). In the words of the Second Circuit, this is the time for RBL “to

put up or shut up.” Weinstock v. Columbia Univ., 224 F.3d 33, 41 (2d Cir. 2000).

IV.     ARGUMENT

        Summary judgment is appropriate in this case. First, the asserted 3x3 Cube Design is

functional and thus not protectable as a trademark. Second, RBL cannot show likelihood of

confusion. All the factors support the contrary—e.g., the Duncan Quick Cube’s design is

dissimilar to the 3x3 Cube Design, Flambeau acted in good faith, and there is no evidence of any

actual confusion. Third, for similar reasons, RBL cannot show likelihood of dilution. And there

is no evidence that the 3x3 Cube Design itself is famous (as opposed to the RUBIK’s name,

which is not asserted). Rather, prevalent use of the Design by third-party puzzle cubes has

rendered it generic. Finally, the Court should decline to disgorge Flambeau’s profits because the

equities weigh against an award, and lack of willfulness precludes any award for federal dilution.

            A. The 3x3 Cube Design Is Functional.

        “The ‘functionality’ of a mark can be demonstrated by, inter alia, showing that the mark

has either traditional ‘utilitarian’ functionality or ‘aesthetic’ functionality.” Christian Louboutin

S.A. v. Yves Saint Laurent Am. Holdings, Inc., 696 F.3d 206, 217 (2d Cir. 2012).

                     i. The 3x3 Cube Design is utilitarian functional.

        A product feature is utilitarian functional and, thus, cannot serve as a trademark if (1) it is

essential to the use or purpose of the article or (2) it affects the cost or quality of the article.

TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. 23, 32 (2001). Utilitarian functionality is

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further analyzed by the Morton-Norwich factors: (3) whether utility patents disclose the design’s

functional advantages; (4) whether advertising touts the design’s functional advantages;

(5) whether there are alternative designs that function as well; and (6) whether the design results

from simple or cheap manufacturing. 671 F.2d 1332, 1340-1341 (C.C.P.A. 1982).

       First, the 3x3 Cube Design is essential to the use or purpose of the article bearing its

design—e.g., the 3x3 Rubik’s Cube. The intended use and purpose of the 3x3 Rubik’s Cube is

for it to be scrambled and solved by color. (St. ⁋⁋ 204-205). Per RBL, the cube is a “colour-

matching puzzle that’s a great mental challenge” with “the aim … to twist and turn [the puzzle]

to return it to its original state, with every side having one solid colour.” (St. ⁋⁋ 163-164).

       The 3x3 Cube Design—with its six faces of three rows of three smaller cubes, each

bearing one of six distinct colors—is essential to that aim. The smaller cubes allow the puzzle to

be twisted and turned. (St. ⁋⁋ 206-209). And the six distinct colors allow the puzzle to be

scrambled and solved. (St. ⁋⁋ 210-211). RBL’s own solving guides and lesson plans provide

step-by-step instructions on how to solve the cube by its six specific colors. (St. ⁋⁋ 165-175).

       Second, the 3x3 Cube Design improves the quality of the 3x3 Rubik’s Cube. Color is the

superior external indicia for puzzle cubes. The average person is able to discern and match colors

more quickly and easily than numbers and shapes. (St. ⁋ 214). And numbers and shapes are not

as intuitive as color—e.g., a cube with numbers may not require matching, but ordering. (St. ⁋⁋

215-216). Per Mr. Rubik, he used colors on his puzzle cube because color is “very simple and …

very easy to distinguish” and is “the most simple way to mark the solved state.” (St. ⁋⁋ 217-218).

       The 3x3 Cube Design does not use just any colors—it uses three primary colors, two

secondary colors, and white for its color patches; and it uses black for its background. (St. ⁋ 195,

197). Lee Loetz, a toy designer with over 23 years of experience in toy design, analyzed the

Design’s color combination and concluded that it provides “maximum contrast.” (St. ⁋ 240).
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       Puzzle cubes that use maximum contrasting colors are more quickly and easily solved

than those with less contrasting colors because it is easier to distinguish the cube segments and

match like to like. (St. ⁋⁋ 228-236). Consider a cube with six shades of orange—the solver would

need to take time and mental energy to distinguish the shades, sometimes on opposite sides of

the cube, which slows the solving. (St. ⁋⁋ 237-238). The same is true to a lesser degree if even

two colors in the combination are less contrasting. (St. ⁋⁋ 236). These considerations are

particularly important to speed cubers (St. ⁋ 239), supporting functionality. See, e.g., Laurel Rd.

Bank v. CommonBond, Inc., No. 18 CIV. 7797 (ER), 2019 WL 1034188, at *6 (S.D.N.Y. Mar. 5,

2019) (finding design with “contrasting colors” functional because it facilitated readability).

       Third, utility patents claim and disclose the functional advantages of the 3x3 Cube

Design—a fact of which RBL is well aware. For a time, RBL advertised that its 3x3 Rubik’s

Cube was patented, but then removed the reference after the rights expired. (St. ⁋⁋ 246-249).

Utility patents provide “strong evidence” that the features therein claimed and disclosed are

functional. TrafFix, 532 U.S. at 29-32. In such cases, the trademark holder “must carry the heavy

burden of showing that the feature is not functional, for instance by showing that it is merely an

ornamental, incidental, or arbitrary aspect of the device.” Id. at 30. RBL cannot do so here.

       The ‘062 Hungarian Patent—the first of Mr. Rubik’s patents—plainly claims and

discloses a 3x3 puzzle cube with each face of the cube comprised of nine smaller cube segments

arranged in three rows of three, just like the drawing from the ‘092 Registration (St. ⁋⁋ 39, 125):

              ‘062 Rubik Patent                                   ‘092 Registration




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        Other patents claim and disclose the same 3x3 array (St. ⁋⁋ 30, 45, 48, 64, 68, 71) and/or

using color as an external indicia:

       Claiming an “[embodiment of [a] spatial logic toy … characterized by … colors … on
        the external surfaces of the toy elements ….” (St. ⁋ 50).
       “The surfaces of the small cubes forming each surface of the large cube are colored …
        [and] can be assembled into the predetermined logical order … by simultaneously
        rotating the nine toy elements forming the surfaces of the ‘large cube.’” (St. ⁋ 54).
       “The small cubic elements forming the plane surfaces of the large cube are either colored
        or indicated with numbers, figures or any other symbols. Accordingly, by rotating the
        cubes, several combinations become possible ….” (St. ⁋ 58).
       “In the “Ideal ‘Rubik’s Cube’ …, each face is colored uniformly with a distinct color, but
        repeated rotation of the various faces scrambles the individual cubie faces. The object of
        the game then is to continue to rotate the cube faces in order to return the cubies to their
        original position so that all sides of the cube have a solid color.” (St. ⁋ 64).
       “A puzzle cube in a 3x3x3 version has been discussed and previously known…. [N]ine
        outer surfaces of the cube elements are respectively provided with one and the same
        color, so that in the starting position each side of the cube body is one color.” (St. ⁋ 68).

        Mr. Loetz, who holds numerous utility patents, charted these patents’ disclosures and

concluded that they cover the relevant features of the 3x3 Cube Design.3 (St. ⁋⁋ 241-244).

        RBL may argue that the patents do not claim the precise colors specified in the ‘092

Registration—but this misses the point.4 The proper analysis is not whether the 3x3 Rubik’s

Cube infringes the patent claims, but rather whether the patents’ disclosures show the features of

the asserted design serve a utilitarian function. Jay Franco & Sons, Inc. v. Franek, 615 F.3d 855,

857 (7th Cir. 2010) (affirming functionality based on utility patents). The patent claims “need not

be so specific” as to support a finding of patent infringement—it is enough for the disclosure to

simply explain the design’s utilitarian advantages. Schutte Bagclosures Inc. v. Kwik Lok Corp.,

193 F. Supp. 3d 245, 267 (S.D.N.Y. 2016), aff'd, 699 F. App'x 93 (2d Cir. 2017).


3
  The chart is included as Appendix 5 to Mr. Loetz’s expert report. (St. ⁋ 241).
4
  To the extent the Design requires precise colors, the Quick Cube does not use those colors. As
explained below, RBL’s asserted design is either so narrow (e.g., restricted to a black base and
six specific colors), that no reasonable jury could find the Quick Cube infringes (with its white
base and different colors). Or, the asserted design is so broad that it is not protectable.
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       Fourth, RBL touts the functional advantages of the 3x3 Cube Design. RBL’s marketing

materials tell the history of a “solid Cube [that] twisted and turned - and still it did not break or

fall apart. With colourful stickers on its sides, the Cube got scrambled and thus emerged the first

‘Rubik’s Cube.’” (St. ⁋ 161). “Colour is a key aspect of the DNA of Rubik’s Cube, with its

multiple squares of red, orange, yellow, green, blue and white.” (St. ⁋ 162). “Turn and twist the

sides of the Cube so that each of the six faces only have one colour.” (St. ⁋ 163).

       Fifth, supposed “alternative designs” do not function as well as the 3x3 Cube Design. As

to the overall shape of the puzzle, a cube is more easily handled and manipulated than other

shapes, like a sphere or pyramid. (St. ⁋ 250). Moreover, the 3x3 puzzle cube presents a sweet

spot in level of difficulty. A 2x2 puzzle is not so difficult, but a 4x4 puzzle much more so. (St. ⁋⁋

251-252). The 3x3 puzzle presents a challenge, but an achievable one. (St. ⁋ 253).

       As to the external indicia, color presents a functional advantage over other options, like

numbers and shapes, because it is more intuitive and more quickly and easily distinguished. (St.

⁋⁋ 213-218). Imagine being presented a puzzle cube with numerals 1 through 9 scrambled on the

smaller segments. Which is the 6? Which is the 9? Should like numbers be matched on a single

face? Should the numbers be ordered across the rows? Is a secondary game involved, like

forming the day’s date or solving a Sudoku challenge? (See St. ⁋⁋ 61, 72).

       Moreover, the WCA requires competitors to use cubes with distinct colors and no

markings. (St. ⁋⁋ 136-144). Cubes with numbers and shapes are not competitively eligible. (See

id.). RBL’s corporate representative conceded that a puzzle cube maker that was not able to

promote its cubes for WCA competition would be at a competitive disadvantage. (St. ⁋ 278).

       An insufficient number of color combinations have the same advantages as the 3x3 Cube

Design’s specific color combination. (St. ⁋⁋ 254-261). As discussed above, puzzle cubes benefit

from having maximum contrast between their six sides. (St. ⁋⁋ 228-239). To achieve maximum
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contrast, a puzzle cube maker is limited to colors that are opposite each other on the color wheel,

namely the three primary colors and the three secondary colors, plus black and white. (St. ⁋ 254).

That yields eight color options for six sides. (Id.).

          But practical constraints make these options even more limited. White provides the best

background for a logo, so puzzle cube makers typically make one side white. (St. ⁋ 255). Blue

and purple are difficult for the average person to distinguish, so puzzle cube makers typically use

only one of those two colors. (St. ⁋⁋ 256-258). With one side fixed on white, and another side

fixed on either blue or purple, only five different combinations of maximum contrasting colors

remain for the other four sides.5 (St. ⁋ 259). Yet there are undisputedly more than five puzzle

cube makers and sellers in the industry. (St. ⁋ 260). There are not enough preferred color

combinations for each cube maker or seller to have their own.

          Lastly, as to the cube’s base, black is a superior option because it is known in the industry

that colors show more brilliantly against a black background. (St. ⁋ 262).

          Sixth, the 3x3 Cube Design results from simple and cheap manufacturing. Originally, the

base of the 3x3 Rubik’s Cube was manufactured from black plastic and the color patches were

applied with colored stickers. (St. ⁋⁋ 268-269). For practical reasons, the stickers did not extend

to the edges of the smaller cube segments, creating a black grid. (St. ⁋ 270). In essence,

manufacturing constraints created the 3x3 Cube Design at-issue in this case. (St. ⁋ 267).

          Manufacturing the base from a single type of plastic generates efficiencies in sourcing

material, molding parts, and assembly. (St. ⁋ 272). Moreover, black plastic is generally more

readily available and cheaper than other colors (St. ⁋ 273), and applying the color patches with

stickers is an inarguably cost-effective means of creating the external indicia. (St. ⁋ 274).

          For all the considerations above, the 3x3 Cube Design is utilitarian functional.

5
    Mr. Loetz reached this number after applying color theory and practical constraints. (St. ⁋ 259).
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                   ii. The 3x3 Cube Design is aesthetically functional.

       A mark is aesthetically functional and, thus, cannot serve as a trademark, if allowing its

exclusivity would put competitors at a disadvantage. Christian Louboutin, 696 F.3d at 219-20. In

other words, “where an ornamental feature is claimed as a trademark and trademark protection

would significantly hinder competition by limiting the range of adequate alternative designs, the

aesthetic functionality doctrine denies such protection.” Id. at 222 (internal quotations omitted).

       RBL contends that every 3x3 puzzle cube infringes RBL’s trademark rights—it is just a

matter of degree. (St. ⁋ 275). In effect, RBL seeks to hold a monopoly over all 3x3 puzzle cubes,

but U.S. trademark law forbids this overreach. “Granting a producer the exclusive use of a basic

element of design (shape, material, color, and so forth) impoverishes other designers’ palettes.”

Jay Franco, 615 F.3d at 860. “[T]he more rudimentary and general the element—all six-sided

shapes rather than an irregular, perforated hexagon; all labels made from tin rather than a specific

tin label; all shades of the color purple rather than a single shade—the more likely it is that

restricting its use will significantly impair competition.” Id.

       In other words, to the extent that RBL holds any trademark rights over the design of a

3x3 puzzle cube, those rights must be limited to allow other puzzle cube makers into the puzzle

cube market. RBL cannot have exclusive rights over “all six-sided shapes.” See id. Nor can RBL

have exclusive rights over color patches using “all shades” of the primary and secondary colors

(minus purple). See id. RBL refuses to acknowledge these precepts, instead choosing to assert its

Design to anticompetitive effect.

       Thus, the Court should find the Design functional, grant summary judgment on RBL’s

entire case, and cancel the ‘094 Registration. Notably, the European Union’s highest court came

to a similar conclusion on a similar RBL design—that a “[t]hree-dimensional mark in the shape

of a cube with surfaces having a grid structure” was functional. (St. ⁋⁋ 280-285).
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           B. RBL Cannot Show the Required Probability of Confusion.

       For all of the reasons above, the 3x3 Cube Design, as RBL asserts it, is not protectable as

a trademark. To the extent that it is protectable, the Design is so narrow that no jury could

reasonable find the Duncan Quick Cube creates a likelihood of confusion.

       A plaintiff asserting either Lanham Act or common law trademark infringement must

prove likelihood of confusion. LVL XIII Brands, Inc. v. Louis Vuitton Malletier S.A., 209 F.

Supp. 3d 612, 665 (S.D.N.Y. 2016), aff’d sub nom. LVL XIII Brands, Inc. v. Louis Vuitton

Malletier SA, 720 F. App’x 24 (2d Cir. 2017). The same is true for Lanham Act false designation

of origin or unfair competition. Id. To avoid summary judgment on these claims, the plaintiff

must demonstrate “‘a probability of confusion, not a mere possibility.’” Id. at 666.

       Courts assess likelihood of confusion using the following factors: (1) actual confusion;

(2) the degree of similarity between the marks; (3) the defendant’s good faith in adopting its

mark; (4) the strength of the plaintiff’s mark; (5) the quality of the products; (6) the competitive

proximity of the products; (7) the likelihood of bridging any gap; and (8) customer

sophistication. Polaroid Corp. v. Polarad Elecs. Corp., 287 F.2d 492 (2d Cir. 1961). An analysis

of these factors shows RBL cannot meet its burden.

       First, after over four years of coexistence and nearly three years of litigation, RBL

concedes there is no actual confusion. (St. ⁋⁋ 286-287). Flambeau is aware of none (St. ⁋⁋ 290-

291), and has found evidence to the contrary—that consumers are aware of many 3x3 puzzle

cube makers and that not all 3x3 puzzle cubes originate from RBL (St. ⁋ 292). Given the

complete absence of actual confusion, and no survey evidence to substitute (St. ⁋⁋ 288-289),

RBL cannot carry its burden of showing confusion is probable. LVL XIII, 209 F. Supp. 3d at 672.

       Second, the overall impressions of the 3x3 Cube Design and the Duncan Quick Cube are

different. RBL’s Design specifies a black base with uniform, square-shaped segments and color
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patches. (St. ⁋⁋ 195, 294, 298, 301). The Quick Cube has a white base, so the white “grid”

outlining the smaller cube segments is strikingly different from the black “grid” from RBL’s

Design. (St. ⁋ 295). In branding, white and black are perceived as opposites and thus a white

cube is unlikely to suggest affiliation with a black cube. (St. ⁋⁋ 296-297). Also, the faces of the

Quick Cube’s smaller segments are not uniformly square—the inner corners are cut away,

forming four diamond-shaped holes around the center segment of each face. (St. ⁋⁋ 299-300).

                3x3 Cube Design                                Duncan Quick Cube




        The color patches on the Duncan Quick Cube are different as well. Like the smaller cube

segments, the color patches are not uniformly square, but are cut away at the inner corners. (St.

⁋⁋ 302-303). And the Quick Cube patches use a bright, fluorescent color palette (St. ⁋ 305),

which is distinct from the traditional primary and secondary colors specified by the 3x3 Cube

Design (St. ⁋ 304). Moreover, the colors are oriented differently—the white face of the Quick

Cube is opposite the yellow face, which is not the case in the 3x3 Cube Design. (St. ⁋⁋ 306-307).

        These are not trivial differences. In fact, they are differences that RBL’s predecessors

emphasized to the USPTO in arguing that the 3x3 Cube Design was not anti-competitive and

thus eligible for registration:

        [T]he design features of applicant’s product, as shown in the drawings, are not
        essential to effective competition or to any other factor. Cube puzzles such as
        manufactured by applicant can be formed of any color plastic material
        desired. They need not be formed of black. The black color of the plastic which
        forms the distinctive black grid pattern of the trademark serve absolutely no
        function in the use of the product.
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       Likewise, the color patches on the faces of the product are not functional. The
       color patches need not be square as used by applicant nor need they be
       colored. And, if colored, they need not be the precise colors used by
       applicant.

(St. ⁋⁋ 103-106 (emphasis added)).

       On top of these differences, both parties prominently display their house marks on their

respective products and packaging. (St. ⁋ 309). “[T]he prominent presence of well-known trade

names goes far toward countering any suggestion of consumer confusion arising from any of the

other Polaroid factors.” See Bristol-Myers Squibb Co. v. McNeil-P.P.C., Inc., 973 F.2d 1033,

1046 (2d Cir. 1992). The DUNCAN mark is particularly strong—it has been continuously used

since 1929 and is a well-known and respected name in the industry. (St. ⁋⁋ 176-179).

       Third, Flambeau acted in good faith. Flambeau received opinions on both patents and

trademarks before launching the Duncan Quick Cube. REDACTED




       Fourth, RBL’s 3x3 Cube Design is not a strong mark, it is generic. The market is

saturated with dozens of non-RBL 3x3 puzzle cubes, many of which use the Design. (St. ⁋⁋ 314-

317). RBL conceded that over half of competitors at WCA events use non-RBL puzzle cubes.

(St. ⁋ 318). Such evidence is “very persuasive” in showing that the mark is not exclusive to one




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source, cutting against likelihood of confusion. See Giggle, Inc. v. netFocal, Inc., 856 F. Supp.

2d 625, 632 (S.D.N.Y. 2012).

        Fifth, the Quick Cube and the Rubik’s Cube are built for different quality of play. The

Quick Cube is designed for speed solving, with the inner corners of its smaller segments cut

away. (St. ⁋⁋ 319-320). This distinguishes the Quick Cube from traditional puzzle cubes, like the

Rubik’s Cube, which have square corners that are not as easy to twist and turn. (St. ⁋⁋ 321-322).

        Sixth and Seventh, RBL and Flambeau occupy different spaces in the toy industry. RBL

does not make or sell puzzle cubes, but rather licenses others to do so, such as large

manufacturers like Hasbro. (St. ⁋⁋ 323-325). In contrast, Flambeau sells its Duncan Quick Cubes

direct to retail stores, like Target and Staples. (St. ⁋⁋ 326-327).

        Eighth, Flambeau’s retail customers are sophisticated and take care in purchasing. (St. ⁋⁋

328-332). These customers have dedicated individuals that negotiate purchases from toy makers

at arms-length. (St. ⁋⁋ 329-330). RBL concedes that retailers, like those that buy the Duncan

Quick Cube, are knowledgeable about the products they purchase. (St. ⁋ 332).

        For these reasons, the Court should enter summary judgment on RBL’s trademark

infringement and false designation of origin claims.

            C. RBL Cannot Support Either Lanham Act or New York Statute Dilution.

        First, RBL cannot support dilution under the Lanham Act, 15 U.S.C. § 1125(c). To do so,

RBL must show: (1) the 3x3 Cube Design is famous; (2) Flambeau is using the Design in

commerce; (3) Flambeau’s use started after the Design became famous; and (4) likelihood of

dilution. Miss Universe, L.P., LLLP v. Villegas, 672 F. Supp. 2d 575, 591 (S.D.N.Y. 2009).

        RBL cannot show that the 3x3 Cube Design is famous, much less that it was famous in

2016 when the Quick Cube launched. RBL has no evidence that today’s purchasing public

associates the 3x3 Cube Design solely with RBL—it has no survey evidence on the topic. (St. ⁋⁋
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333-335). RBL cannot rely on mere suggestion or attorney argument to support fame—it must

have actual evidence.

          RBL may attempt to rely on the RUBIK’S brand as a whole—but the RUBIK’S name is

not asserted in this case. (See Dkt. 1). Essentially, RBL claims that because the RUBIK’S brand

is well-known and associated with puzzle cubes, the 3x3 Cube Design is necessarily famous. But

this logic does not hold.

          Moreover, the record undermines any claim to fame. After the 3x3 Rubik’s Cube’s

reported initial success, popularity fell off. (St. ⁋⁋ 128-129). An entire generation of purchasers

separate any initial success from now. Today, there are dozens of non-RBL 3x3 puzzle cubes on

the market to the point where the design is now generic. (St. ⁋⁋ 314-318). Such prevalent third-

party use forecloses a dilution claim. See Ty Inc. v. Perryman, 306 F.3d 509, 514 (7th Cir. 2002).

          RBL likewise cannot show likelihood of dilution. There are two types of dilution—

dilution by blurring and dilution by tarnishment. Miss Universe, 672 F. Supp. 2d at 592.

          Dilution by blurring is an “association arising from the similarity between a mark or trade

name and a famous mark that impairs the distinctiveness of the famous mark.” 15 U.S.C. §

1125(c)(2)(B). Court analyze blurring based on: (i) similarity between the marks; (ii) inherent or

acquired distinctiveness of the alleged famous mark; (iii) the extent to which the owner of the

alleged famous mark engages in exclusive use; (iv) the degree of recognition of the alleged

famous mark; (v) intent of the user of the accused mark; and (vi) any actual association. Id.

          Each of these factors supports no likelihood of dilution by blurring. As explained more

fully above in Section IV.II,6 (i) the Duncan Quick Cube’s design is dissimilar to the 3x3 Cube

Design; (iii) the marketplace is saturated with non-RBL 3x3 puzzle cubes using the same or

similar designs; (v) Flambeau adopted the Duncan Quick Cube’s design in good faith with no

6
    The numerals in this sentence correspond to the relevant statutory subsections.
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intent to trade-off of RBL; and (vi) there is no evidence of any actual association between the

designs. As pointed out above, RBL has no survey evidence on (iv) the degree of recognition of

the Design. Finally, (ii) the 3x3 Cube Design is not distinctive because it merely describes

exactly what the product is—a 3x3 puzzle cube. Nabisco, Inc. v. PF Brands, Inc., 191 F.3d 208,

217 (2d Cir.1999) (fish cracker only “moderately” distinctive), abrogated on other grounds,

Moseley v. V Secret Catalogue, Inc., 537 U.S. 418 (2003), superseded by statute.

       Dilution by tarnishment is an “association arising from the similarity between a mark or

trade name and a famous mark that harms the reputation of the famous mark.” 15 U.S.C. §

1125(c)(2)(C). Again, there is no evidence that there is any mistaken “association” between the

designs. (St. ⁋⁋ 286-292). And RBL has no evidence that its reputation has been harmed at all,

much less that it was harmed by Flambeau. (St. ⁋⁋ 335-337, 380).REDACTED



       Second, RBL cannot support dilution under New York statute, Gen. Bus. Law § 360. To

do so, RBL must show likelihood of dilution based on: “(i) the similarity of the marks; (ii) the

similarity of the products covered; (iii) the sophistication of the consumers; (iv) the existence of

predatory intent; (v) the renown of the senior mark; and (vi) the renown of the junior mark.”

Miss Universe, 672 F. Supp. 2d at 595. While similar to the factors above, “New York law does

not permit a dilution claim unless the marks are ‘substantially’ similar,” meaning they “must at

least be similar enough that a substantial segment of the target group of customers sees the two

marks as essentially the same.” Id. For all of the reasons discussed above, RBL cannot make this

showing. (See St. ⁋⁋ 286-292).

       Accordingly, summary judgment is appropriate on RBL’s two dilution claims.




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           D. RBL’s Registration Was Procured By Fraud.

       The Court should grant summary judgment finding that RBL’s registration was procured

by fraud. Fraud on USPTO occurs when an applicant knowingly makes false, material

representations of fact in connection with an application to register a mark. MPC Franchise, LLC

v. Tarntino, 826 F.3d 653, 658 (2d Cir. 2016). An omission of material fact, such as the existence

of utility patents, can constitute fraud, warranting cancellation of the registration. Specialized

Seating, Inc. v. Greenwich Indus., L.P., 472 F. Supp. 2d 999, 1016 (N.D. Ill. 2007). The ‘094

Registration’s file history (Section II.C) conclusively establishes that RBL’s predecessors, Ideal

and CBS, knowingly withheld material information specifically requested by the examining

attorney, namely information related to “any patents” covering puzzle cubes.

       In May 1983—the month CBS (or Ideal) made its material omission to the USPTO—

both Ideal and CBS undisputedly knew of several “patents which cover the goods in the

application,” i.e., patents covering puzzle cubes. (St. ⁋⁋ 345-368). Three years earlier, Ideal had

entered into an exclusive license with Mr. Rubik and the relevant Hungarian authorities to

market and sell Rubik’s Cubes in the U.S. (St. ⁋⁋ 81-82, 346). By then, Mr. Rubik was the

named inventor on several patents and applications—all disclosing three-dimensional puzzle

cubes. (St. ⁋⁋ 32-60). His two U.S. patents explicitly disclose using color as an external indicia

and referenced other patents doing the same. (St. ⁋⁋ 51-60). And Ideal applied for two of its own

patents on puzzle cubes. (St. ⁋⁋ 61-68). CBS acquired Ideal’s IP rights in 1982. (St. ⁋⁋ 108-109).

       On top of that, in May 1982, Ideal was sued for patent infringement on another U.S.

patent based on its sales of the 2x2, 3x3, and 4x4 Rubik’s Cubes. (St. ⁋ 87). CBS inherited this

litigation when it acquired Ideal’s puzzle cube business. (St. ⁋ 88). Suffice to say, Ideal and CBS

were well aware of many patents covering puzzle cubes when the examiner asked for them.



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       Despite knowing about the patents, Ideal and CBS withheld them from the examiner to

obtain a registered trademark on an already-patented item. (St. ⁋⁋ 369-374). And the deception

worked—a new examiner allowed the ‘094 Registration to issue, but only after the original

examiner twice expressed concerns about functionality. (St. ⁋⁋ 99, 110, 121). Had the examiner

seen the patents she requested, her concerns would have been vindicated. (St. ⁋⁋ 375-376).

       Jessie Roberts, who worked as trademark examiner and administrator with the USPTO

for over 26 years, reviewed the file history of the ‘092 Registration and the known patents and

confirmed that the application to register the 3x3 Cube Design should have been refused for

functionality based on those patents. (St. ⁋⁋ 338-342). Ms. Roberts further concluded that Ideal’s

and CBS’ failure to provide the known patents to the examiner after they were requested

constituted fraud on the USPTO. (St. ⁋⁋ 343-344).

       RBL may argue specific intent—that it is not enough to say that Ideal or CBS “should

have known” about the patents—but this would be unavailing. Ideal and CBS did know about the

patents and failed to provide them after the examiner explicitly requested them. (St. ⁋⁋ 345-374).

Courts have found fraud on the USPTO under near-exact circumstances. Specialized Seating,

472 F. Supp. 2d at 1016 (fraud on the USPTO for failing to provide information on all related

patents), aff’d on other grounds, 616 F.3d 722 (7th Cir. 2010).

       RBL may also assert that some or all of the above patents were not germane to the

applied-for design. But this was not for Ideal or CBS to decide. The examiner requested “any

patents which cover the goods in the application,” which were “three-dimensional puzzles.” (St.

⁋⁋ 101, 114 (emphasis added)). After the examiner made her request for information, Ideal and

CBS had an obligation to provide it. Their failure to do so perpetuated the fraud. 37 C.F.R. §

11.1 (“Fraud also may be established by a purposeful omission or failure to state a material fact,



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which omission or failure to state makes other statements misleading, and where the other

elements of justifiable reliance and injury are established.”).

       RBL continues to wield the fraudulently procured ‘094 Registration to anti-competitive

effect, damaging Flambeau and other toy makers and sellers. Accordingly, the Court should

cancel the ‘094 Registration and grant summary judgment on the related claims.

           E. The Court Should Decline to Award RBL Any of Flambeau’s Profits.

       First, RBL cannot recover Flambeau’s profits based on its dilution claim because

Flambeau’s conduct was not willful. Under Sec. 1125(c), “[t]he owner of the famous mark shall

be entitled only to injunctive relief unless the person against whom the injunction is sought

willfully intended to trade on the owner’s reputation or to cause dilution of the famous mark.”

Sporty’s Farm L.L.C. v. Sportsman’s Mkt., Inc., 202 F.3d 489, 500 (2d Cir. 2000). If “the

defendant believed in good faith that his use of the mark did not constitute infringement, and is

able to support that belief with more than conclusory allegations, then the court may find that

defendant’s infringement was not willful.” Desly Int’l Corp. v. Otkrytoe Aktsionernoe

Obshchestvo, No. 13CV2303ENVLB, 2017 WL 5157614, at *6 (E.D.N.Y. Nov. 6, 2017).

       Flambeau acted in good faith by seeking and following the advice of counsel. (St. ⁋⁋ 310-

313). Flambeau picked a conventional puzzle cube that was covered by expired patents and

picked the opposite color that is specified in the ‘092 Registration. (St. ⁋⁋ 294-297). Flambeau

prominently brands its cube and its packaging with its well-known DUNCAN mark. (St. ⁋⁋ 308-

309). There is no evidence Flambeau set out to willfully pass off its cube as RBL’s. Accordingly,

the Court should find no willfulness and decline to award profits under Sec. 1125(c).

       Second, the Court should decline to award RBL Flambeau’s profits based on any of its

claims because the equities weigh against disgorgement for any purpose, including deterrence.

While willfulness is no longer a prerequisite to awarding profits on a trademark infringement
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claim, Romag Fasteners, Inc. v. Fossil, Inc., No. 18-1233 (U.S. Apr. 23, 2020), it remains

relevant in deciding the equities, along with whether the defendant’s actions caused sales to be

wrongfully diverted, and whether the plaintiff’s own hands are unclean, George Basch Co. v.

Blue Coral, Inc., 968 F.2d 1532, 1539-1541 (2d Cir. 1992) (reversing award of profits because

plaintiff failed to show defendant’s infringement caused any sales diversion).

        As discussed above, Flambeau acted in good faith, and no evidence indicates that any

sales were wrongfully diverted. To the contrary—not a shred of evidence indicates that any

person confused the Duncan Quick Cube for an RBL product. (St. ⁋⁋ 286-292). REDACTED



                            Moreover, RBL has unclean hands—it has wielded a fraudulently

procured trademark registration to anti-competitive effect. (St. ⁋ 344). In such cases,

disgorgement is inappropriate. George Basch, 968 F.2d at 1540; see also Int’l Star Class Yacht

Racing Ass’n v. Tommy Hilfiger, U.S.A., Inc., 80 F.3d 749 (2d Cir. 1996) (Lanham Act damages

not available because the plaintiff offered no evidence of actual confusion or pecuniary loss);

Cuisinarts, Inc. v. Robot-Coupe Intern. Corp., 580 F. Supp. 634, 638, 222 U.S.P.Q. 318

(S.D.N.Y. 1984) (declining to order an accounting when defendant relied upon counsel).

 V.     CONCLUSION

        For the foregoing reasons, Flambeau respectfully requests that the Court enter summary

judgment dismissing RBL’s case.

        Respectfully submitted this 22nd day of June 2020,

                                                             /s/ Anthony Tomaselli
                                                             Anthony Tomaselli




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 22, 2020, per Judge Gardephe’s Rule IV.C,

the foregoing document was served on counsel of record for Plaintiff via e-mail:


                                        Mark I. Peroff
                                      Darren W. Sanders
                                        Cassandra Tam
                                     Peroff Saunders, P.C.
                                  745 5th Avenue, Suite 500
                                    New York, NY 10151
                               mark.peroff@peroffsaunders.com
                               dsaunders@peroffsaunders.com
                                  ctam@peroffsaunders.com



                                                      /s/ Anita Marie Boor
                                                      Anita Marie Boor
